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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700                             OK/HAV
 5
     Attorney for Defendant
 6   TAVORIS TIMANE SAUCIER
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   NO. CR-S-07-0019 DFL
                                           )
12                     Plaintiff,          )   STIPULATION AND ORDER CONTINUING
                                           )   STATUS CONFERENCE
13        v.                               )
                                           )   Date: March 8, 2007
14   CHARLENE LEE SAUCIER,                 )   Time: 10:00 a.m.
        aka Charlene Lee Bates, and        )   Judge: The Hon. David F. Levi
15   TAVORIS TIMANE SAUCIER,               )
                                           )
16                     Defendants.         )
                                           )
17   _______________________________
18        IT IS HEREBY STIPULATED between the parties, Camil A. Skipper,
19   Assistant United States Attorney, attorney for plaintiff, Hayes H.
20   Gable, attorney for defendant CHARLENE LEE SAUCIER, and Matthew C.
21   Bockmon, attorney for defendant TAVORIS TIMANE SAUCIER, that the
22   current Status Conference date of February 8, 2007, be vacated, and
23   that a new Status Conference date of March 8, 2007, at 10:00 a.m. be
24   set. This continuance is necessary because defense counsel are still
25   waiting for discovery in this case, and defense investigation is on-
26   going.
27        IT IS FURTHER STIPULATED that the period from February 8, 2007
28   through and including March 8, 2007, should be excluded pursuant to
             Case 2:07-cr-00019-JAM Document 18 Filed 02/08/07 Page 2 of 2


 1   18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 based upon continuity of
 2   counsel and to give defense counsel reasonable time to prepare.
 3   Dated: February 7, 2007
 4
 5                                            Respectfully submitted,
 6                                            DANIEL J. BRODERICK
                                              Federal Defender
 7
                                              /s/ Matthew C. Bockmon
 8                                            ________________________________
                                              MATTHEW C. BOCKMON
 9                                            Assistant Federal Defender
                                              Attorney for Defendant
10                                            TAVORIS TIMANE SAUCIER
11
     Dated: February 7, 2007                   /s/ Hayes H. Gable
12                                            HAYES H. GABLE
                                              Attorney at Law
13                                            Attorney for Defendant
                                              CHARLENE LEE SAUCIER
14
15
     Dated: February 7, 2007                  MCGREGOR W. SCOTT
16                                            United States Attorney
17                                            /s/ Matthew C. Bockmon for
                                                  Camil A. Skipper
18                                            ______________________________
                                              CAMIL A. SKIPPER
19                                            Assistant U.S. Attorney
                                              per telephonic authority
20
21                                       O R D E R
22
     IT IS SO ORDERED.
23
24   Dated: 02/07/2007
25                                            /s/ David F. Levi
                            DAVID F. LEVI
26                                            United States District Judge
27
28


     Stip & Order                             2
